Case 2:O4-cr-20040-.]PI\/| Document 97 Filed 06/23/05 Page 1 of 2 Page|D 144

 

 

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]N THE UNITED STATES DISTRICT COURT %
FOR THE WESTERN DISTRICT OF TENNESSEE Dr_; JUH 23 -r,,% § _
WESTF.RN DIVISION ~' “ ' “*' * v
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\J-EM‘ a U.;}, D- `r ‘__/`T'.
) ’VJ.D. 05 -]l\l, i~._¢\h!"H|S
UNITED sTATEs oF AMERICA )
)
Plaintiff, )
)
vs ) cR. No. 04-20040-Ml
)
ROBERT sPENcER )
}
Defendant(s) )
)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Change of Plea Hearing on Wednesday, June 15,
2005 at 2:30 p.m. Counsel for the defendant requested a continuance of
the present setting. The continuance is necessary to allow for
additional preparation in the case.

The Court granted the request and continued the matter for a Change
of Plea Hearing to Thursday, June 23, 2005 at 8:30 a.m. with a trial date
of Monday, Tuesday, July 5, 2005 at 9:30 a.m.

The period from June 17, 2005 through July 15, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel additional
time to prepare.

IT IS SO ORDERED this the §§ day Of June, 2005.

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This document entered on the docket she

wlth Rule 55 andlor 32(b) FFICrP nn

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:04-CR-20040 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

NNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

